                   Case 19-12220-KBO             Doc 75       Filed 11/07/19        Page 1 of 4



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:
                                                            Chapter 11
              YUETING JIA,1
                                                            Case No. 19-12220-KBO
                                     Debtor.
                                                            Re: DI 38



         O-FILM GLOBAL (HK) TRADING LIMITED AND NANCHENG O-FILM
     PHOTOELECTRIC TECHNOLOGY CO., LTD.’S PRELIMIARY OBJECTION TO
        THE DEBTOR’S MOTION FOR ENTRY OF AN ORDER (I) SCHEDULING
      COMBINED HEARING ON (A) DISCLOSURE STATEMENT, (B) PREPETITION
     SOLICITATION PROCEDURES, AND (C) CONFIRMATION OF PREPACKAGED
       PLAN; (II) FIXING DEADLINE TO OBJECT TO PREPACKAGED PLAN AND
        DISCLOSURE STATEMENT; (III) APPROVING FORM AND MANNER OF
      COMBINED HEARING AND OBJECTION DEADLINE; (IV) CONDITIONALLY
    CANCELING MEETING OF CREDITORS; AND (V) GRANTING RELATED RELIEF

             O-Film Global (HK) Trading Limited and Nanchang O-Film Photoelectric Technology

Co., Ltd. (collectively, “O-Film”) respectfully submits this preliminary objection to the Debtor’s

Motion for Entry of an Order (I) Scheduling Combined Hearing on (A) Disclosure Statement, (B)

Prepetition Solicitation Procedures, and (C) Confirmation of Prepackaged Plan; (II) Fixing

Deadline to Object to Prepackaged Plan and Disclosure Statement; (III) Approving Form and

Manner of Combined Hearing and Objection Deadline; (IV) Conditionally Canceling Meeting of

Creditors; and (V) Granting Related Relief [Dkt. No. 38] (the “Motion”).




1
 The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91
Marguerite Drive, Rancho Palos Verdes, CA 90275
                 Case 19-12220-KBO             Doc 75       Filed 11/07/19        Page 2 of 4



                                                 Background

        1.       O-Film, founded in 2001, designs and manufactures electronic components for the

consumer electronics and automotive markets which include touch panels, cover glass, camera

modules, biometric sensors, haptic response technology and LCD modules.

        2.       On January 16, 2018, O-Film filed a complaint against the Debtor in the California

Superior Court County of Los Angeles alleging breach of contract, fraud, common count in

quantum meruit, and unfair competition, seeking compensatory damages in the amount of

$24,095,428 related to unpaid electronic components provided to the Debtor.

        3.       The Debtor has identified O-Film on Schedule F of its Schedules of Assets and

Liabilities as having a contingent and unliquidated claim in the amount of $24,095,428 (the “Claim

Amount”).

        4.       The Ballot which O-Film received temporarily allows the Claim Amount at $0 for

voting on the Plan2 and the exchange offer.

                                           Preliminary Objection

        5.       O-Film files this preliminary objection to object to the proposed expedited timeline

in this case. The issues associated with the Debtor’s proposed expedited timeline are amplified by

the unavailability of key documents in Mandarin.

        6.       The Debtor is a Chinese national who fled to the United States following actions

taken by courts in China against the Debtor and his assets. He now seeks to afford himself of the

protections offered under the Bankruptcy Code to resolve the debts he incurred and owes almost

exclusively to creditors based in China. The almost exclusively China-based creditor body




2
 Defined terms not otherwise defined herein shall have the meaning ascribed to such terms in the Chapter 11 Plan
of Reorganization [Dkt. No. 4].
                Case 19-12220-KBO         Doc 75     Filed 11/07/19      Page 3 of 4



presents unique issues and obstacles when compared to the typical expedited chapter 11 cases filed

in this jurisdiction.

        7.      An apparent issue at the outset of this case is the difficulty that a China-based

creditor body will have in comprehending the English legalese contained in the Confidential

Offering Memorandum, Disclosure Statement and Consent Solicitation Statement (D.I.5), and the

Plan (D.I. 4). To address the difficulty with this comprehension, the Debtor has employed his own

personal translator to assist in him in understanding his own filings. See e.g. D.I. 30. The creditors

must also be afforded the same “adequate information” from which they can make an informed

judgment as to whether to accept or reject the Plan. 11 U.S.C. § 1125(a)(1); 11 U.S.C. § 1126(d).

As a condition to any solicitation of votes following the Petition Date, and in order to ensure that

the Debtor (as the plan proponent) has complied with the disclosure and solicitation requirements

of sections 1125 and 1126 of the Bankruptcy Code in the solicitation of acceptances to the plan of

reorganization, the Debtor must be required to provide his creditors with assistance in

comprehending certain documents by providing certified translations in Mandarin of all documents

and related notices that seek creditor action for which there will be related consequences based on

creditor action or inaction. At a minimum, this will include translation of the Confidential Offering

Memorandum, the Disclosure Statement and Consent Solicitation Statement, the Plan, the Plan

Supplement, and the motion, notice and order setting establishing a Bar Date.

        8.      In light of the language comprehension issues addressed above, O-Film objects to

a Voting Deadline that does not provide O-Film with sufficient time to review all relevant Plan

and Disclosure Statement documents (including the Plan Supplement) in both Mandarin and

English, and also to prepare and file a motion to allow O-Film’s claim for voting purposes and for

the Court to address the merits of such motion.
               Case 19-12220-KBO          Doc 75     Filed 11/07/19     Page 4 of 4



         9.     O-Film also objects to the Debtor’s request to modify the deadline for providing

the Plan Supplement from 5 days before the Voting Deadline to 15 days before the hearing date

on the Motion, to the extent that such modification will result in O-Film receiving the Plan

Supplement after the Voting Deadline.

         10.    O-Film reserves its right to further supplement this Preliminary Objection.



         WHEREFORE, O-Film respectfully requests that the Court (i) deny the relief requested

in the Motion, (ii) require that documents and related notices requiring creditor action be

provided in both English and Mandarin, (iii) extend the Voting Deadline and other deadlines

requiring actions to be taken by creditors including deadlines related to the Plan, Disclosure

Statement, and the Bar Date, and (iv) grant such further relief as is just and proper.

Dated:    November 7, 2019
          Wilmington, Delaware                BAYARD, P.A.

                                              /s/ GianClaudio Finizio
                                              Neil B. Glassman (No. 2087)
                                              Scott D. Cousins (No. 3079)
                                              GianClaudio Finizio (No. 4253)
                                              600 N. King Street, Suite 400
                                              Wilmington, Delaware 19801
                                              Telephone: (302) 655-5000
                                              Facsimile: (302) 658-6395
                                              Email: nglassman@bayardlaw.com
                                                      scousins@bayardlaw.com
                                                      gfinizio@bayardlaw.com

                                              Counsel to O-Film Global (HK) Trading Limited
                                              and Nancheng O-Film Photoelectric Technology
                                              Co., Ltd.
